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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

David A. Badhwa and Denise A.                        Case No: 0:18-cv-2258-PJS-DTS
Badhwa,

                 Plaintiffs,

v.

Veritec, Inc.,

                 Defendant,

and

Veritec, Inc.,                                    STIPULATION TO DISMISS
                                                   ACESSE THIRD-PARTY
                 Counter-Plaintiff and         DEFENDANTS’ COUNTERCLAIMS
                 Third-Party Plaintiff,

v.

David A. Badhwa and Denise A.
Badhwa,

                 Counter-Defendants,

and

JAB Companies, Inc., Acesse
Corporation, ADXNET, Inc., ADX
Labs L.L.C., A2Z Holdings, Inc.,
MobileSoft Technology, Inc., Mobile.net
LLC, Steven Renner, and Joseph
Morris.

                 Third Party Defendants.

      Third-Party Plaintiff/Counter-Defendant Veritec, Inc. (“Veritec”) and Third-Party

Defendants/Counter-Claimants Acesse Corporation, ADXNET, Inc., ADX Labs, LLC.,


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A2Z Holdings, Inc., MobileSoft Technology, Inc., Mobile.net LLC, Steven Renner and

Joseph Morris (collectively, “Acesse”) (collectively, the “Parties”), by and through their

respective counsel, hereby respectfully submit the following Joint Stipulation to Dismiss

Acesse Third-Party Defendants’ Counterclaims.

       WHEREAS, the Court granted in part and denied in part Veritec’s motion to

remand the case to Minnesota State District Court. (Dkt. Nos. 32 & 33). Pursuant to that

order, only Acesse’s declaratory judgment counterclaims remain pending in this Court.

       NOW THEREFORE, the Parties stipulate as follows:

1. Veritec hereby stipulates that Veritec does not own or have any right or interest, directly

   or indirectly, in the United States Patent Numbers: 5,612,524 (the “’524 Patent”),

   7,159,780 (the “’780 Patent”), 7,484,659 (the “’659 Patent”), 7,510,125 (the “’125

   Patent”), 7,516,905 (the “’905 Patent”), 7,614,551 (the “’551 Patent”), 8,152,056 (the

   “’056 Patent”), and 8,152,070 (the “’070 Patent”) (collectively, the “Patents”).

2. Veritec hereby stipulates that it is not aware of any facts that would support a claim that

   Acesse has infringed the Patents and therefore has no basis to allege that Acesse has

   infringed any of the Patents.

3. Veritec has licensed, assigned, or otherwise transferred its rights in the Patents. In the

   event that any person to which Veritec has licensed, assigned, or otherwise transferred

   its rights in the Patents (“Transferee”) sues Acesse, Veritec shall indemnify and hold

   harmless Acesse against any and all claims, demands, and causes of action, at law or in

   equity, brought by any Transferee and from any liability of any kind that exists or has

   existed relating to the Patents asserted against Acesse by any Transferee.

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4. Veritec hereby stipulates that Veritec does not now nor has it ever owned any copyright

   registration with the Copyright Office for Veritec's source code to either Veritec’s

   blinxPay mobile wallet and payment technology or its blinxPhone firmware or software

   (collectively “Registered Copyright”).

5. Veritec hereby stipulates that it has no basis to allege that Acesse has infringed the

   Registered Copyright.

6. Veritec on behalf of itself, its officers, its directors, and its heirs and assigns, hereby

   stipulates, agrees, and covenants not to sue Acesse or any of its officers, directors, heirs,

   or assigns for infringement of the Patents or infringement of the Registered Copyright.

7. The provisions of this Stipulation shall not apply to any new or updated products the

   Acesse Third-Party Defendants release into the marketplace in the future which are

   based upon or utilize secure two-dimensional bar code technology; further, the parties

   stipulate and agree that if the aPay, aPhone, or aTablet products are modified in the

   future to utilize secure two-dimensional bar code technology, this Stipulation shall not

   apply to future claims.

8. The Parties stipulate that this Stipulation shall not be used by any Party to this

   Stipulation, or any other person, as evidence in the state court proceedings between the

   Parties.

   ACCORDINGLY, Parties stipulate and agree that this matter be dismissed, with

prejudice, pursuant to Rule 41(a)(1)(A)(ii) and that each side is responsible for its own

costs and fees in this federal proceeding. The Parties, therefore, respectfully request that



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this Court issue an Order dismissing this matter with prejudice without costs or fees to any

Party.



                                             RESPECTFULLY SUBMITTED,

                                              GRAY, PLANT, MOOTY,
                                               MOOTY & BENNETT, P.A.
 Dated: March 12, 2019
                                              By s/Loren L. Hansen
                                                 Marnie E. Fearon (#305078)
                                                 Email: marnie.fearon@gpmlaw.com
                                                 Loren L. Hansen (#387812)
                                                 Email: Loren.Hansen@gpmlaw.com
                                                 Molly R. Littman (#398449)
                                                 Email: molly.littman@gpmlaw.com
                                              500 IDS Center
                                              80 South Eighth Street
                                              Minneapolis, MN 55402
                                              Phone: (612) 632-3281


                                              ATTORNEYS FOR THIRD PARTY
                                              DEFENDANTS ACESSE
                                              CORPORATION, ADXNET, INC.,
                                              ADX LABS LLC, A2Z HOLDINGS,
                                              INC., MOBILESOFT TECHNOLOGY,
                                              INC., MOBILE.NET LLC, STEVEN
                                              RENNER, AND JOSEPH MORRIS



                                             ROCK HUTCHINSON PLLP

                                             By: s/ Troy J. Hutchinson
Dated: March 12, 2019                        Troy J. Hutchinson (No. 0320420)
                                             thutchinson@rockhutchinson.com
                                             2050 Canadian Pacific Plaza
                                             120 South Sixth St.
                                             Minneapolis, MN 55402

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                                Phone: (612) 573-3688
                                Facsimile: (612) 330-0959

                                COUNSEL FOR DEFENDANT,
                                COUNTER-PLAINTIFF, AND THIRD
                                PARTY PLAINTIFF VERITEC, INC.




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